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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHRISTOPHER ROLLINS,

                             Plaintiff,

             v.                                                         ORDER

GOLDMAN SACHS & CO. LLC, GOLDMAN                                  18 Civ. 7162 (ER)
SACHS GROUP, INC., GOLDMAN SACHS
INTERNATIONAL, GOLDMAN SACHS
SERVICES LIMITED, JAMES P. ESPOSITO,

                             Defendants.



RAMOS, D.J.

        On August 9, 2018, Christopher Rollins brought this action against Goldman Sachs &

Co. LLC and others (collectively, “Defendants”) for violations of the Dodd-Frank Act and

related claims. Doc. 1. On September 27, 2018, Plaintiff amended the complaint. Doc. 17. On

July 2, 2019, the Court granted Defendants’ motion to compel arbitration and stayed the action

pending arbitration. Doc. 28. Since then, the parties have not provided the Court with an update

on the status of the case.

       The parties are therefore directed to submit a joint status report by November 19, 2020

and every three months thereafter. Failure to comply with the Court’s order could result in

sanctions, including dismissal for failure to prosecute. Fed. R. Civ. P. 41(b).

       It is SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                             Edgardo Ramos, U.S.D.J.
